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                                                                               FILED
                                                                   United States Court of Appeals
                                          PUBLISH                          Tenth Circuit

                        UNITED STATES COURT OF APPEALS                   January 23, 2018

                                                                       Elisabeth A. Shumaker
                               FOR THE TENTH CIRCUIT                       Clerk of Court
                           _________________________________

  MARY M. MAYOTTE,

        Plaintiff - Appellant,

  v.                                                         No. 16-1252

  U.S. BANK NATIONAL ASSOCIATION,
  As Trustee for Structured Asset Investment
  Loan Trust Mortgage Pass-Through
  Certificates, Series 2006-4; WELLS
  FARGO BANK N.A.; AMERICA’S
  SERVICING COMPANY, and All Persons
  or Entities Claiming any Legal or Equitable
  Right, Title, Estate, Lien or Interest in the
  Property Described in this Complaint
  Adverse to Plaintiff’s Title, or any Cloud
  upon Plaintiff’s Title Thereto; DEBRA
  JOHNSON, Public Trustee,

        Defendants - Appellees.
                        _________________________________

                       Appeal from the United States District Court
                               for the District of Colorado
                          (D.C. No. 1:14-CV-03092-RBJ-CBS)
                         _________________________________

  John E. Campbell, Campbell Law LLC, St. Louis, Missouri, for Plaintiff-Appellant.

  Jessica E. Yates, Snell & Wilmer LLP, Denver, Colorado (Allison L. Gambill, on the
  briefs) for Defendants-Appellees.
                           _________________________________

  Before HARTZ, HOLMES, and BACHARACH, Circuit Judges.
                    _________________________________
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  HARTZ, Circuit Judge.
                           _________________________________

         On this appeal the parties have asked us to determine how, or even whether, an

  important—but subtle and often confusing—doctrine limiting federal-court jurisdiction

  should apply to a unique Colorado procedure for “nonjudicial” foreclosure of mortgages.

  The jurisdictional doctrine is the Rooker-Feldman doctrine, which forbids lower federal

  courts from reviewing state-court civil judgments. Colorado’s unique procedure is

  Colorado Rule of Civil Procedure 120, which requires creditors pursuing nonjudicial

  foreclosure to first obtain a ruling by a Colorado trial court that there is a reasonable

  probability that a default exists. See generally Andrea Bloom, Foreclosure by Private

  Trustee: Now Is the Time for Colorado, 65 Denv. U. L. Rev. 41, 51, 56 (1988) (Bloom).

  As it turns out, we need not decide whether the Rooker-Feldman doctrine bars a federal-

  court challenge to a Rule 120 proceeding or ruling. We hold only that the federal-court

  suit before us is not barred by the Rooker-Feldman doctrine because none of the claims

  (at least none pursued on appeal) challenge the Rule 120 proceedings or seek to set aside

  the Rule 120 ruling. We leave for the district court on remand to consider what effect, if

  any, the Rule 120 ruling may have on this case under state-law doctrines of claim and

  issue preclusion.

         I. BACKGROUND

         Plaintiff Mary Mayotte was the debtor on a note held by U.S. Bank, NA. The note

  was secured by a deed of trust assigning a security interest in her home to the public

  trustee of Denver County and creating a power of sale in the trustee. Wells Fargo



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  serviced the loan for U.S. Bank. One allegation is that Plaintiff contacted Wells Fargo to

  modify her loan, that Wells Fargo told her she needed to miss three payments to secure a

  modification, and that she eventually took this advice. Rather than granting her a

  modification, however, Wells Fargo placed her in default. She further alleges that the

  defendants fabricated documents, that their actions rendered her title unmarketable, that

  they have no ownership interest in her promissory note or property, that they have been

  unjustly enriched by accepting payments not due them, that they damaged her credit

  standing, and that they violated the Real Estate Settlement Procedures Act, 12 U.S.C.

  § 2605 et seq. (RESPA) and the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et

  seq.

         In late 2014, proceedings to sell the home to pay the note were commenced in

  Colorado state court under Rule 120. Before the sale, Plaintiff (proceeding pro se) filed

  suit in the United States District Court for the District of Colorado. In addition to seeking

  an injunction against the sale, she asked for damages resulting from the defendants’

  actions, an accounting for the money she had paid to the defendants, cancellation of the

  promissory note and deed of trust, and a declaration that the defendants have no interest

  in her home.

         The court took no action before the sale, so (still proceeding pro se) she amended

  her complaint and later filed a second amended complaint (the Complaint), which is now

  the operative complaint. The factual allegations of the Complaint were essentially the




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  same as those in the original complaint, and most of the relief sought was also the same,

  except that she no longer sought an injunction to prevent the sale.1

         The district court dismissed Plaintiff’s claim under RESPA for failure to state a

  claim; and, perhaps misled by unpublished decisions of this court, it dismissed the rest of

  the claims without prejudice under Rooker-Feldman on the ground that the claims

  “effectively ask[ed] the [c]ourt to unwind the results of the Rule 120 proceedings.” Aplt.

  App. at 128. We affirm the district court’s dismissal of Plaintiff’s claim under RESPA

  because she offers no argument on the issue. See Franklin Savings Corp. v. United

  States, 180 F.3d 1124, 1128 n.6 (10th Cir. 1999) (failure of appellant’s brief to develop

  argument on an issue waives that issue on appeal). Plaintiff does, however, challenge on

  appeal the dismissal under Rooker-Feldman. We reverse. Because of the complexity of

  the legal issues, we first discuss Colorado’s nonjudicial-foreclosure regime and then the

  Rooker-Feldman doctrine.

         II. COLORADO’S NONJUDICIAL FORECLOSURE REGIME

         Nonjudicial foreclosures are available in 33 states and the District of Columbia.

  See Grant S. Nelson et al., Real Estate Finance Law § 7:20 n.1 (6th ed. 2014).

  Nonjudicial foreclosures generally allow a creditor to foreclose on a debtor’s property

  more efficiently and less expensively than do judicial foreclosures. See id. § 7:20. Most



  1
    Plaintiff also claimed that the Rule 120 proceeding is unconstitutional if it is a final
  judicial decision with preclusion and Rooker-Feldman effects. On appeal, however, she
  makes clear that she is not pursuing any claim based on the Rule 120 proceeding if we
  overturn the Rooker-Feldman bar to her other claims. We therefore do not address these
  constitutional claims, even though stated in the Complaint.

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  nonjudicial-foreclosure regimes do not require hearings and have minimal notice

  requirements. See id.

         Colorado, however, has a unique process—requiring a public trustee and the

  involvement of a judge. See id. § 720 n.2; Bloom at 41, 43. Nonjudicial foreclosure is

  available only if the deed of trust, which authorizes sale of the property to pay a debt,

  names the county’s public trustee as trustee. See Bloom at 45. And the beneficiary of the

  trust must obtain an order from a court under Colorado Rule 120 before selling the

  property. See id. at 46 & n.54. This requirement of judicial involvement was originally

  enacted to assist in the determination of the military status of debtors, in compliance with

  what is now called the Servicemembers Civil Relief Act, 50 U.S.C. § 3953, which

  protects service members from secured creditors. See generally Goodwin v. Dist. Court,

  779 P.2d 837, 840–42 (Colo. 1989) (summarizing history of the rule and its construction

  by Colorado Supreme Court); Hal Tudor & Bruce Nelson, C.R.C.P. Rule 120:

  Understanding the Revision, 6 Colo. Law. 40, 41 (1977) (Tudor & Nelson). But in light

  of Sniadach v. Family Finance Corp. of Bay View, 395 U.S. 337, 342 (1969), which held

  that constitutional due process required a judicial hearing before prejudgment

  garnishment of wages, Rule 120 was expanded in 1976. It now requires judicial review

  of not just the debtor’s military status but also of “the existence of the default . . . [and]

  the existence of other facts or circumstances authorizing, under the terms of the deed of

  trust described in the motion, the exercise of a power of sale contained therein.” Tudor &

  Nelson at 46. Other issues that might affect the validity of the foreclosure, however, are

  not to be considered. See Plymouth Capital Co. v. Dist. Court of Elbery Cty., 955 P.2d


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  1014, 1017 (Colo. 1998) (“The Rule 120 hearing is not the proper forum for addressing

  the various and complex issues that can arise in some foreclosures. . . . [T]he scope and

  purpose of a Rule 120 hearing is very narrow . . . .”); Bloom at 56 (“Many issues that

  could vitally affect the rights of the debtor, the owner of the property, and junior lienors

  and their ability to cure or to redeem, cannot be considered in the Rule 120 court

  hearing.”).

          If the court makes the required findings and the sale is conducted in accordance

  with the order authorizing the sale, “the court shall thereupon enter an order approving

  the sale.” Colo. R. Civ. P. 120(g). Although the applicable Colorado statute provides

  that after the sale the title to the property vests in the purchaser, subject to rights of

  redemption, see Colo. Rev. Stat. Ann. § 38-38-501(1); Ragsdale Bros. Roofing v. United

  Bank, 744 P.2d 750, 752–54 (Colo. App. 1987) (discussing predecessor to the statute),

  the Rule 120 decision is not definitive on other matters. The court determines only

  whether there is “a reasonable probability” of the existence of the alleged circumstances

  justifying the sale. Colo. R. Civ. P. 120(d); see Tudor & Nelson at 46. And the decision

  is without prejudice to claims in an independent action seeking an injunction to prohibit

  the sale or other relief. See Colo. R. Civ. P. 120(d)2; Tudor & Nelson at 44; Bloom at 56


  2
      Rule 120(d) provides:

          Neither the granting nor the denial of a motion under this Rule shall
          constitute an appealable order or judgment. The granting of any such
          motion shall be without prejudice to the right of any person aggrieved to
          seek injunctive or other relief in any court of competent jurisdiction, and
          the denial of any such motion shall be without prejudice to any right or
          remedy of the moving party.

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  (Issues not considered in the Rule 120 court hearing “can appropriately be raised and

  considered in independent actions for declaratory relief or injunctive relief regardless of

  the outcome of the motion for an order authorizing the sale.” (footnotes omitted)).

         The gist of a Rule 120 decision is therefore simply that the sale of the property can

  proceed unless some other court, which need pay no attention to the findings by the Rule

  120 court, decides to halt or otherwise modify the sale. And the rights created by the

  order approving the sale are limited to clearing title to the property. There do not appear

  to be any decisions by the Colorado appellate courts permitting challenges to whether a

  Rule 120 sale vested title in the purchaser. Cf. Ragsdale, 744 P.2d at 752–54

  (determining that title vested by sale under predecessor to § 38-38-501 was subject to

  mechanics lien).

         III. THE ROOKER-FELDMAN DOCTRINE

         “The Rooker-Feldman doctrine . . . provides that only the Supreme Court has

  jurisdiction to hear appeals from final state court judgments.” Bear v. Patton, 451 F.3d

  639, 641 (10th Cir. 2006). The genesis of the Rooker-Feldman doctrine is the Supreme

  Court’s 1923 decision in Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923). In that case

  the plaintiff had lost an earlier suit in Indiana state court but claimed in federal district

  court that “the [state-court] judgment was rendered and affirmed in contravention of

  the . . . Constitution of the United States,” and that therefore it should be “declared null

  and void.” Id. at 414–15. The Supreme Court held that federal district courts “could

  [not] entertain” such litigation, as only the Supreme Court was vested by Congress with




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  the authority to reverse or modify state-court judgments. Id. at 416; see also District of

  Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983).

         Over 80 years later, the Supreme Court revisited the Rooker-Feldman doctrine in

  Exxon Mobil Corp. v. Saudi Basic Indus. Corp. [SABIC], 544 U.S. 280 (2005), in part

  because of the Court’s view that the doctrine had been unduly expanded by the lower

  courts. See id. at 283. Shortly after SABIC had sued ExxonMobil in state court seeking

  a declaration that certain royalty charges were proper, ExxonMobil sued SABIC in

  federal court alleging overcharges. In the federal suit SABIC moved for dismissal on the

  ground of sovereign immunity. The district court denied the motion but SABIC took an

  interlocutory appeal. While the appeal was pending, the state-court jury rendered its

  verdict. The federal court of appeals then dismissed the interlocutory appeal for lack of

  subject-matter jurisdiction under the Rooker-Feldman doctrine, holding that federal

  jurisdiction terminated upon entry of the judgment in state court. See id. at 289–90. The

  Supreme Court reversed. It cautioned that “Rooker and Feldman exhibit the limited

  circumstances in which th[e] Court’s appellate jurisdiction over state-court judgments . . .

  precludes a United States district court from exercising subject-matter jurisdiction.” Id.

  at 291. “In both cases, the losing party in state court filed suit in federal court after the

  state proceedings ended, complaining of an injury caused by the state-court judgment and

  seeking review and rejection of that judgment.” Id. (emphasis added). Because the case

  before it was not of that type, the governing law was not Rooker-Feldman but preclusion

  doctrine. See id. at 293 (“Disposition of the federal action, once state-court adjudication

  is complete, would be governed by preclusion law.”).


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         In Campbell v. City of Spencer, 682 F.3d 1278, 1280 (10th Cir. 2012), we applied

  the lessons of Exxon Mobil to a challenge to the seizure of allegedly mistreated horses by

  the Oklahoma County Sheriff’s office. After the seizure, two Oklahoma municipalities

  filed a petition in state court seeking forfeiture of the horses. See id. The court granted

  the petition. See id. The person who had owned the horses before the forfeiture order

  unsuccessfully appealed. See id. She then filed a civil-rights suit in federal district court,

  alleging violations of the Fourth Amendment (the prepetition search of her property and

  seizure of her horses), Fifth Amendment (the taking of her horses without just

  compensation through the forfeiture order), and Eighth Amendment (the imposition of an

  unreasonable bond to prevent forfeiture of her horses). See id.

         Following the Supreme Court’s lead in Exxon Mobil, we recognized that “[t]he

  essential point is that barred claims are those ‘complaining of injuries caused by state-

  court judgments.’ In other words, an element of the claim must be that the state court

  wrongfully entered its judgment.” Id. at 1283 (quoting Exxon Mobil, 544 U.S. at 284).

  Applying Exxon Mobil’s formulation of the Rooker-Feldman test to the facts in

  Campbell, we held that the Fifth and Eighth Amendment claims were “a direct attack on

  the state court’s judgment because an element of the claim[s] is that the judgment was

  wrongful.” Id. at 1284–85. The Fourth Amendment claims, on the other hand, did not

  attack the state-court judgment—“[s]he could raise the same claims even if there had

  been no state-court proceedings,” id. at 1285, because the complained-of actions occurred

  before the filing of the petition for forfeiture. Thus, the district court had jurisdiction to

  consider those claims.


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          These precedents establish that Rooker-Feldman does not deprive a federal court

   of jurisdiction to hear a claim just because it could result in a judgment inconsistent with

   a state-court judgment. There is no jurisdictional bar to litigating the same dispute on the

   same facts that led to the state judgment. For example, there is jurisdiction to litigate in

   federal court the parties’ claims arising out of an automobile accident even if the same

   claims had already been litigated in state court. To be sure, the judgments in the two

   cases could be inconsistent; but that is a problem to be resolved under preclusion

   doctrine, not Rooker-Feldman. A party’s claims in the later federal action could be

   barred by claim preclusion or issue preclusion. But the federal court has jurisdiction to

   determine whether there is such a bar.

          What is prohibited under Rooker-Feldman is a federal action that tries to modify or

   set aside a state-court judgment because the state proceedings should not have led to that

   judgment. See Exxon Mobil, 544 U.S. at 291 (cases governed by Rooker-Feldman

   involved complaints “seeking review and rejection of [a state-court] judgment”). Seeking

   relief that is inconsistent with the state-court judgment is a different matter, which is the

   province of preclusion doctrine. Thus, there would be a Rooker-Feldman issue if the

   federal suit alleged that a defect in the state proceedings invalidated the state judgment.

   That was what Rooker was about—alleged violations of due process, equal protection,

   and the Contract Clause by the state court. See also Feldman, 460 U.S. at 465–69

   (challenging local court’s denial of admission to court’s bar on ground of violation of

   Fifth Amendment and antitrust law). But “attempts merely to relitigate an issue

   determined in a state case are properly analyzed under issue or claim preclusion


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   principles rather than Rooker-Feldman.” In re Miller, 666 F.3d 1255, 1261 (10th Cir.

   2012).

            IV. APPLICATION TO THIS CASE

            Plaintiff seeks title to her home and compensation for damages caused by the

   defendants’ alleged misconduct. Are these claims barred by Rooker-Feldman? We think

   not.

            Rooker-Feldman can bar a federal-court claim by Plaintiff only if “an element of

   the claim is that [a prior state-court] judgment was wrongful.” Campbell, 682 F.3d at

   1284. “[B]arred claims are those ‘complaining of injuries caused by state-court

   judgments.’” Id. at 1283 (quoting Exxon Mobil, 544 U.S. at 284). But Plaintiff is not

   making such a claim. Even if we were to assume for the sake of argument that the Rule

   120 order authorizing the sale of the property (or the order approving the sale) could be

   considered a judgment under Rooker-Feldman for some purposes,3 Plaintiff is not


   3
     Our decision in In re Miller, 666 F.3d at 1261–62, considered the application of
   Rooker-Feldman in a federal bankruptcy proceeding. The purported creditor had
   obtained an order authorizing sale in a Rule 120 proceeding after the state court rejected
   the debtor’s challenge to the creditor’s standing to initiate the proceeding. Before the
   sale could take place, the debtor filed for bankruptcy, staying the state-court proceedings.
   We held that when the purported creditor moved for relief from the stay, Rooker-
   Feldman did not deprive the bankruptcy court of jurisdiction to determine that the
   purported creditor lacked standing to seek such relief. We said that “the state court
   finding of ‘standing’ was not a final judgment to which [Rooker-Feldman] could attach,”
   explaining that “attempts merely to relitigate an issue determined in a state case are
   properly analyzed under issue or claim preclusion principles rather than Rooker-
   Feldman.” Id. at 1261. In a footnote we observed that the federal district courts in
   Colorado had “reached differing results concerning whether orders in Rule 120
   proceedings have . . . sufficient finality under the Rooker-Feldman doctrine to prevent
   relitigation in subsequent federal proceedings,” and stated that we found “those cases
   denying . . . Rooker-Feldman treatment more persuasive.” Id. at 1262 n. 6. Later

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   seeking to set aside either order. Her claims are based on events predating the Rule 120

   proceedings. She could certainly obtain damages from the defendants without setting

   aside the foreclosure sale. To be sure, the relief she seeks includes obtaining title to her

   home, a result that would be inconsistent with the Rule 120 order approving sale. But

   inconsistent judgments are the province of preclusion doctrine, which can sort out what

   happens if one court says Plaintiff owns the home while another says she does not. The

   province of Rooker-Feldman is solely challenges to judgments. Within the federal

   judicial system, the authority to set aside state-court judgments is the exclusive province

   of the United States Supreme Court. The preclusive effect of state-court judgments, in

   contrast, is part of the lower courts’ bread and butter.

          An example may elucidate the point. Assume that two suits are filed

   simultaneously in federal and state court. In federal court, X sues Y to quiet title to

   Blackacre in favor of X. In state court, Y sues X to quiet title to Blackacre in favor of Y.

   The federal suit is not challenging any state-court judgment, so it is not barred by Rooker-


   unpublished opinions by this court, however, have indicated that orders approving the
   sale in Rule 120 proceedings may have some Rooker-Feldman consequences. See
   Dillard v. Bank of New York, 476 F. App’x 690, 692 n.3 (10th Cir. 2012) (“We recognize
   that Rule 120 proceedings are not amenable to application of the Rooker–Feldman
   doctrine. . . . Ms. Dillard, however, is not seeking to enjoin the sale of her home; rather,
   she is attempting to completely undo the foreclosure and eviction proceedings, which
   were both final before she ever initiated this suit. Under these circumstances, Rooker–
   Feldman bars her claims.”); Castro v. Kondaur Capital Corp., 541 F. App’x 833, 837
   (10th Cir. 2013) (similar); see also McDonald v. J.P. Morgan Chase Bank, N.A., 661 F.
   App’x 509, 512 (10th Cir. 2016) (without mentioning Rule 120 (apparently incorrectly),
   stating that “Rooker-Feldman does apply to the foreclosure judgment”). We need not
   decide on this appeal whether our holding in In re Miller extends to a challenge to an
   order approving sale, as opposed to a finding of standing in the course of entering an
   order authorizing sale.

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   Feldman. Even if the state litigation results in a judgment in favor of Y while the federal

   suit is pending, Rooker-Feldman does not keep the federal case from proceeding,

   although the result in the federal suit may well be affected by the preclusive effect of the

   state-court judgment. This is not simply a matter of timing. Even if the federal suit had

   been brought after judgment was entered in the state litigation, the federal suit would not

   be barred by Rooker Feldman unless “an element of the claim [was] that the state court

   wrongfully entered its judgment.” Campbell, 682 F.3d at 1283.

          In this case, to proceed on her federal-court claims for damages and to obtain a

   declaration that she has title to her home, Plaintiff need not set aside, or challenge in any

   way, the Rule 120 decision. All the facts she alleges in the Complaint to obtain such

   relief preexisted the Rule 120 proceedings. She can prove her claims without any

   reference to the state-court proceedings. The present litigation thus does not “complain[]

   of injuries caused by [the Rule 120 decision].” Campbell, 682 F.3d at 1283 (internal

   quotation marks omitted). In other words, because there is no need to set aside, or even

   consider the validity of, the Rule 120 decision for Plaintiff to establish her claim, we

   cannot say that “an element of the claim” is that the Rule 120 order was “wrongful.” Id.

   at 1284.

          We therefore must set aside the district court’s Rooker-Feldman dismissal of all of

   Plaintiff’s claims except the RESPA claim (which was dismissed on the merits). We

   express no view on the merits of those claims. In particular, we leave to the district court

   in the first instance to determine whether the Rule 120 proceedings and the sale of




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   Plaintiff’s home have any effect (preclusive, equitable, or otherwise) on the resolution of

   her claims or the relief to which she is entitled.

      V. CONCLUSION

          We AFFIRM the district court’s dismissal of Plaintiff’s claim under RESPA. We

   REVERSE the district court’s jurisdictional dismissal of the other claims and REMAND

   to the district court for further proceedings. We GRANT Defendant’s motion to strike

   Plaintiff’s response to its Fed. R. App. P. 28(j) letter.




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